Case 21-01046-BFK   Doc 84-6 Filed 06/10/22 Entered 06/10/22 13:47:38   Desc
                           Exhibit 5 Page 1 of 7




                                EXHIBIT 5
 Case 21-01046-BFK            Doc 84-6 Filed 06/10/22 Entered 06/10/22 13:47:38        Desc
                                     Exhibit 5 Page 2 of 7


Craig M. Palik, Esquire VSB #45728
Thuc-Doan Phan, Esquire VSB #92462
McNamee Hosea, et al.
6411 Ivy Lane, Suite 200
Greenbelt, Maryland 20770
(301) 441-2420
cpalik@mhlawyers.com
dphan@mhlawyers.com
Counsel to Defendants Emeri M. Johnson,
Gabrielle A. Johnson, and Legacy Wealth Properties, LLC

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

                                                  )
IN RE:                                            )
                                                  )
JEROME ALAN JOHNSON and                           )
MICHELE ANITA JOHNSON,                            )       Case No. 19-12437-BFK
                                                  )       Chapter 7
        Debtors.                                  )
                                                  )
                                                  )
DONALD F. KING, TRUSTEE,                          )
                                                  )
                         Plaintiff                )
                                                  )
v.                                                )       Adv. Pro. No. 21-01046-BFK
                                                  )
MARY ELLA JOHNSON, et al.                         )
                                                  )
                         Defendants.              )
                                                  )

                          DEFENDANTS’ RESPONSES TO
             PLAINTIFF’S REQUEST FOR PRODUCTION OF DOCUMENTS

To:     BRADLEY D. JONES
        Counsel for Donald F. King Trustee, Plaintiff
        ODIN, FELDMAN & PITTLEMAN, P.C.
        1775 Wiehle Avenue, Suite 400
        Reston, Virginia 20190
        Phone: 703-218-2176
        Fax: 703-218-2160
        Brad.Jones@ofplaw.com

From: Emeri M. Johnson, Gabrielle A. Johnson,
      and Legacy Wealth Properties, LLC


                                                      1
 Case 21-01046-BFK         Doc 84-6 Filed 06/10/22 Entered 06/10/22 13:47:38              Desc
                                  Exhibit 5 Page 3 of 7



       c/o Craig M. Palik, Esq.
       McNamee Hosea
       6411 Ivy Lane, Suite 200
       Greenbelt, MD 20770

       COMES NOW, Defendants Emeri M. Johnson, Gabrielle A. Johnson, and Legacy Wealth

Properties, LLC (hereinafter “Defendants”), by counsel, and hereby responds to the Plaintiff’s

Requests for Production. The objections previously asserted by Defendants to these Requests for

Production are preserved. Without waiving any objection, Defendants respond as follows:

                     ANSWERS TO DOCUMENTS TO BE PRODUCED

       1.       All documents and communications (including emails), from October 2016 to

present, between any of the Defendants, the Debtors, and Mary Ella Johnson regarding the

Colemans Lake Property.

       Response:      The Defendants do not have any documentations or communications in
regards to the Coleman Lake Property. The Defendants, minus Mary Ella Johnson, and the
Debtors reside in the same property, and all communications are strictly verbal. Although the
Coleman Lake Property was discussed, there is no paper documentation of these conversations.

       2.       All documents and communications (including emails), from October 2016 to

present, by any of the Defendants with Jerome Johnson regarding the transfer of the Coleman

Lake Property

        Response:       The Defendants do not have any documentations or communications in
regards to the transfer of the Coleman Lake Property. The Defendants, minus Mary Ella Johnson,
and the Debtors reside in the same property, and all communications are strictly verbal. Although
transfer was discussed, there is no paper documentation of these conversations.

       3.       All documents and communications (including emails) relating to the creation or

signing of the Consent to Action By Members Without a Meeting executed by Jerome A.

Johnson, Michele A. Johnson, Emeri M. Johnson and Gabrielle A. Johnson on October 29, 2016.

       Response:      The Defendants do not have any documentations or communications in
regards to the Consent to Action by Members Without a Meeting. The Defendants, minus Mary
Ella Johnson, and the Debtors reside in the same property, and all communications are strictly



                                               2
 Case 21-01046-BFK       Doc 84-6 Filed 06/10/22 Entered 06/10/22 13:47:38             Desc
                                Exhibit 5 Page 4 of 7



verbal. Although creating and signing the Consent to Action was discussed, there is no paper
documentation of these conversations.
        4.     Copies of any and all corporate documents maintained by Legacy Wealth

Properties, LLC, including but not limited to any written consents, board book, meeting

minutes, books and records, or any other documents maintained by Legacy Wealth

Properties, LLC relating to the governance of the entity or related to the Colemans Lake

Property.

        Response:       Defendants have provided all corporate documents maintained by Legacy
Wealth Properties, LLC to the Plaintiff. However, Defendants will provide these documents
again to ensure that all documents were sent.

       5.     All financial records, agreements, contracts, or other documents relating to the

Colemans Lake Property or Legacy Wealth Properties, LLC’s interest in the Colemans Lake

Property.

        Response:      Defendants do not have any financial records related to the Colemans
Lake Property or Legacy Wealth Properties, LLC’s interest in the Coleman Lakes Property aside
from the documents already provided. Defendants will provide these documents, including the
deeds, again to ensure that all documents were sent.

       6.     Copies of all tax returns and K1s filed by Legacy Wealth Properties, LLC

with the IRS or the Commonwealth of Virginia.

      Response:      The Defendants do not have copies of tax returns or K1s for Legacy
Wealth Properties, LLC, as Legacy Wealth Properties, LLC did not file these documents.

       7.     Copies of all financial records relating to Legacy Wealth Properties, LLC,

including any financial statements prepared and bank statements for any bank or financial

accounts it owned or controlled from October 2016 to present, or any documents relating to

assets owned or controlled by Legacy Wealth Properties, LLC with a value in excess of

$5,000.00.

        Response:     Defendants cannot provide any financial records relating to Legacy
Wealth Properties, LLC. Legacy Wealth Properties, LLC does not have any bank accounts, nor
does it own any assets or properties in excess of $5,000.00. The Defendants have submitted all

                                                3
 Case 21-01046-BFK           Doc 84-6 Filed 06/10/22 Entered 06/10/22 13:47:38                  Desc
                                    Exhibit 5 Page 5 of 7



documentation related to the ownership of the Colemans Lake Property by Legacy Wealth
Properties, LLC, which is the only asset that was ever owned by Legacy Wealth Properties, LLC.

       8.       Copies of any draft deeds prepared regarding the Colemans Lake Property,

whether or not those drafts or final versions of those drafts were filed in the land records.

       Response:       The Defendants do not have draft deeds prepared regarding the Colemans
Lake Property.

       9.      Copies of any liens filed on the Colemans Lake Property and copies of any title

reports for that property.

       Response:       The Defendants do not believe that there are any liens on the Colemans
Lake Property, but if there are any liens, the Defendants do not have any copies. The Defendants
have not requested any copies of title reports for the Colemans Lake Property, so they do not
have copies of any title reports.

       10.     Any written documents, correspondence with any person (including emails),

or contracts related to or exchanged in connection with the gift deed and correction gift deed

executed July 2021.

        Response:      The Defendants do not have any written documents related to the gift deed
or the correction gift deed executed July 2021. The Defendants, minus Mary Ella Johnson, and
the Debtors reside in the same property, and all communications are strictly verbal. Although the
gift deeds were discussed, there is no paper documentation of these conversations.

       11.     Any written documents, correspondence with any person (including emails),

or contracts related to or exchanged in connection with the gift deed executed on September

12, 2015.

        Response:       The Defendants do not have written documents in regards to the gift deed
executed on September 12, 2015. The Debtors did correspond with Mary Ella Johnson in regards
to the gift deed, but the conversations were strictly verbal.

       12.     Copies of any written documents requiring payment to Mary Ella Johnson by

any person or entity in connection with the formation of Legacy Wealth Properties, LLC.

       Response:     Defendants do not have any written documentation requiring any payment
to be made to Mary Ella Johnson.



                                                  4
 Case 21-01046-BFK          Doc 84-6 Filed 06/10/22 Entered 06/10/22 13:47:38                   Desc
                                   Exhibit 5 Page 6 of 7



       13.      Any written documents, correspondence (including emails), or contracts that

explain why the Colemans Lake Property was conveyed to Legacy Wealth Properties, LLC.

      Response:     The Defendants do not have any written documents explaining why the
Colemans Lake Property was conveyed to Legacy Wealth Properties, LLC.

       14.     All documents and communications related to any defense or defenses that

you plan to assert in response to the Plaintiff’s allegations in the Complaint.

        Response:         Defendants shall identify all trial exhibits by the deadlines set forth in the
scheduling order entered in this case. Notwithstanding the objections previously asserted,
Defendants have not at the present time determined what documents they intend to offer as an
exhibit at the trial of this matter.

       15.     All documents and communications you intend to introduce for any purpose

whatsoever on summary judgment or at the trial in this Adversary Proceeding.

        Response:         Defendants shall identify all trial exhibits by the deadlines set forth in the
scheduling order entered in this case. Notwithstanding the objections previously asserted,
Defendants have not at the present time determined what documents they intend to offer as an
exhibit at the trial of this matter.

       16.     All documents and communications provided to or reviewed by any expert

retained by you to provide expert witness testimony in this Adversary Proceeding.

       Response:     Defendants shall identify all expert witnesses by the deadlines set forth in
the scheduling order entered in this case. Notwithstanding the objections previously asserted,
Defendants have not at the present time communicated with, nor engaged the services of, any
expert witness.

Dated: February 23, 2022




                                                   5
 Case 21-01046-BFK       Doc 84-6 Filed 06/10/22 Entered 06/10/22 13:47:38             Desc
                                Exhibit 5 Page 7 of 7



                                           Respectfully submitted,

                                           /s/ Craig M. Palik
                                           ___________________________________
                                           Craig Palik, (VSB # 45728)
                                           McNamee Hosea
                                           6411 Ivy Lane, Suite 200
                                           Greenbelt, MD 207770
                                           (301) 441-2420 (Telephone)
                                           (301 982 9450 (Fax)
                                           cpalik@mhlawyers.com

                                           Counsel for Emeri M. Johnson, Gabrielle A.
                                           Johnson, and Legacy Wealth Properties, LLC



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date the foregoing Objections to Plaintiff’s First
Request for Production of Documents was served electronically on all parties or counsel of
record entitled to notice, and in addition, by regular first class mail, postage pre-paid, on:

BRADLEY D. JONES
Counsel for Donald F. King Trustee, Plaintiff
ODIN, FELDMAN & PITTLEMAN, P.C.
1775 Wiehle Avenue, Suite 400
Reston, Virginia 20190
Phone: 703-218-2176
Fax: 703-218-2160
Brad.Jones@ofplaw.com
                                            /s/ Craig M. Palik
Date: February 23, 2022                     ___________________________
                                            Craig M. Palik




                                              6
